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                                                                DISTRICT JUDGE BENJAMIN H. SETTLE
 7                                                            MAGISTRATE JUDGE DAVID W. CHRISTEL
 8                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 9
                                            AT TACOMA
10
     BROOKE LYN SONIA,                                                NO. 3:19-cv-5979-BHS-DWC
11
                                               Plaintiff,             DEFENDANTS’ ANSWER TO
12                                                                    PLAINTIFF’S AMENDED
         v.                                                           COMPLAINT AND JURY DEMAND
13

14 KARIE RAINER, et al.,

15                                           Defendants.
16             The Defendants respectfully file the following Answer to Plaintiff’s Amended

17    Complaint. 1 Dkt. 12. Under Federal Civil Rule 8(b), Defendants generally deny each allegation

18    of fact in the Plaintiff’s Amended Complaint unless the allegation of fact is expressly admitted.

19    Defendants will not respond to legal arguments contained in the Plaintiff’s Amended Complaint

20    and will deny them if it is unclear if the Plaintiff is asserting a factual or legal claim.

21                                               I.       DEFENDANTS

22             Defendants admit they have been named in their official capacity as parties to the

23    Plaintiff’s Amended Complaint and are employed by the Washington state Department of

24    Corrections.

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                 Plaintiff’s complaint appears to start at page 11 and Defendants answer will address the claims raised in
      this section of the pleading.

     DEFENDANTS’ ANSWER TO PLAINTIFF’S                            1                ATTORNEY GENERAL OF WASHINGTON
                                                                                            Corrections Division
     AMENDED COMPLAINT AND JURY                                                      1116 West Riverside Avenue, Suite 100
     DEMAND                                                                               Spokane, WA 99201-1106
     No. 3:19-cv-5979-BHS-DWC                                                                   (509) 456-3123
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1                                       II.     INTRODUCTION
2            1.      Defendants admit Plaintiff identifies as transgender and has been diagnosed with
3     gender dysphoria. Defendants assert Plaintiff’s medical and mental health records speak for
4     themselves.
5            2.      Defendants admit that there are many forms of treatment for gender dysphoria.
6            3.      Defendants neither admit nor deny the information contained in this paragraph of
7     the complaint, as they do not have the information to answer this claim.
8            4.      Deny.
9            5.      Deny.
10           6.      Defendants neither admit nor deny the allegations made in this paragraph of the
11    Plaintiff’s Amended Complaint as they merely restate his claims.
12                               III.    JURISDICTION AND VENUE
13           Defendants admit this Court has jurisdiction over the claims raised in the complaint
14    Defendants deny venue is appropriate as Plaintiff seeks injunctive relief and was housed at the
15    Washington State Penitentiary in Walla Walla, Washington at the time he filed this complaint.
16                                            IV.   PARTIES
17           10.     Admit.
18           11.     Admit.
19           12.     Deny.
20           13.     Deny.
21           14.     Admit.
22           15.     Admit.
23           16.     Deny.
24           17.     Defendants neither admit nor deny as this calls for a legal conclusion.
25           18.     Defendants neither admit nor deny as this calls for a legal conclusion.
26           19.     Defendants neither admit nor deny as this calls for a legal conclusion.


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1            20.     Deny.
2                                   V.       FACTUAL ALLEGATIONS
3            21.-32. Defendants admit that the World Professional Association for Transgender
4     Health is an organization that promotes standards of care for transgender individuals. Defendants
5     assert that the WPATH standards of care speak for themselves. Defendants deny that the
6     WPATH standards take into consideration the unique considerations for inmates.
7            33.     Defendants neither admit nor deny the information contained in this paragraph of
8     the complaint, as they do not have the information to answer this claim.
9            34.     Defendants neither admit nor deny the information contained in this paragraph of
10    the complaint, as they do not have the information to answer this claim.
11           35.     Defendants neither admit nor deny the information contained in this paragraph of
12    the complaint, as they do not have the information to answer this claim.
13           36.     Deny.
14           37.-70 Deny all allegations listed in these paragraphs of the complaint. Plaintiff’s
15    medical and mental health records and grievance records speak for themselves.
16           71.     Deny.
17           72.     Deny.
18           73.     Deny.
19                                             VI.       RELIEF
20           Defendants deny Plaintiff is entitled to any of the relief set forth in this section of the
21    Plaintiff’s Amended Complaint. Defendants will not respond to any further allegations listed in
22    this section as they call for legal conclusions.
23                                    VII.    PRAYER FOR RELIEF
24           Defendants deny Plaintiff is entitled to any of the relief set forth in this section of the
25    Plaintiff’s Amended Complaint.
26


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1                                    VIII. AFFIRMATIVE DEFENSES
2                Having answered the allegations of Plaintiff’s Second Amended Complaint, and by way
3     of further answer and affirmative defense, Defendants affirmatively allege:
4                1.     Plaintiff has failed to state a claim upon which relief can be granted, because she
5     has not alleged facts that rise to the level of a civil rights violation under 42 U.S.C. § 1983.
6                2.     All acts allegedly done by the Defendants with respect to Plaintiff were done in
7     the reasonable belief that they were in accordance with the Federal Constitution, and the laws of
8     the state of Washington and the United States. Defendants also acted pursuant to published
9     policies and field instructions, which they could have reasonably believed were constitutional.
10    Defendants are entitled to qualified immunity from damages.
11               3.     Plaintiff has not fully exhausted her administrative remedies.
12               4.     Defendants reserve the right to allege additional affirmative defenses after the
13    completion of discovery.
14                                          IX.     JURY DEMAND
15               Should this matter proceed to trial, Defendants demand that a jury determine all issues
16    of fact.
17               RESPECTFULLY SUBMITTED this 26th day of February, 2020.
18                                                    ROBERT W. FERGUSON
                                                      Attorney General
19

20

21                                                    s/ Candie M. Dibble
                                                      CANDIE M. DIBBLE, WSBA #42279
22                                                    Assistant Attorney General
                                                      Corrections Division
23
                                                      1116 West Riverside Avenue, Suite 100
24                                                    Spokane, WA 99201-1106
                                                      (509) 456-3123
25                                                    Candie.Dibble@atg.wa.gov
26


     DEFENDANTS’ ANSWER TO PLAINTIFF’S                     4              ATTORNEY GENERAL OF WASHINGTON
                                                                                   Corrections Division
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     DEMAND                                                                      Spokane, WA 99201-1106
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